Meghan Claiborne

From:                             Shannon Zabel
Sent:                             Wednesday, November 4, 2020 2:52 PM
To:                               Thomas Malone
Subject:                          RE: Wexler - discovery responses, requests and depositions this week
Attachments:                      Wexler - Notice of Deposition 11.6.pdf


Tom,

Attached is a Notice of Deposition for your client’s deposition on Friday, 11/6 at 10:30 AM. As I have not heard from
you regarding Officer Hawkins’ deposition, she has not been court noticed for tomorrow.

Thanks,

Shannon Zabel
Assistant City Solicitor
City of Philadelphia Law Department
Civil Rights Unit
1515 Arch Street, 14th Floor
Philadelphia, PA 19102
215-683-5114

From: Shannon Zabel
Sent: Tuesday, November 3, 2020 9:45 AM
To: Thomas Malone <tmalone@themalonefirm.com>
Subject: Wexler - discovery responses, requests and depositions this week

Tom,

Attached are Defendants’ Responses to Plaintiff’s RFP served via email on 9/2/20. The code violation you requested
could not be located by PPD’s reports control, but may be found in the relevant district. Can you please provide me with
information regarding the location of the incident/District/officer/name so I can narrow down where it’s physically
located? In response to your last request in the 9/2/20 email, attached here are the Operation Orders for Gay Pride Parade
on 6/6/19.

Officer Hawkins is available to be deposed Thursday this week. I would like to depose your client Friday (virtually) and
will send a notice of deposition later this afternoon. Please provide me with your client’s discovery responses by close
of business tomorrow. They were requested on 7/31/20. Please also let me know what time you would like to start on
Thursday.

Thanks,

Shannon Zabel
Assistant City Solicitor
City of Philadelphia Law Department
Civil Rights Unit
1515 Arch Street, 14th Floor
Philadelphia, PA 19102
215-683-5114



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